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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA,

                Plaintiff,                        Case No. 1:19-cr-10080-NMG

        v.

 GREGORY COLBURN, et al.,

                Defendants.


                  DEFENDANT ELISABETH KIMMEL’S MOTION
             FOR LEAVE TO FILE MOTION EX PARTE AND UNDER SEAL

       Defendant Elisabeth Kimmel respectfully moves this Court for leave to file a motion ex

parte and under seal (“Submission”).

       As grounds for the motion, Mrs. Kimmel states that she requests to file the Submission ex

parte and under seal because it relates to a Rule 17(c) subpoena, the subject matter of which would

reveal confidential trial strategy to the government. See United States v. Diamont, Case No. 1:05-

cr-10154, ECF No. 33, slip op. at 5 (D. Mass. Nov. 22, 2005) (Dien, M.J.) (“[E]x parte proceedings

are available under Rule 17(c) both based on the language of the Rule and for policy reasons.”).

       WHEREFORE, Mrs. Kimmel respectfully requests that her motion to file the Submission

ex parte and under seal be GRANTED.
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                                      Respectfully submitted,


                                      /s/ Eóin P. Beirne
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                                      Mark E. Robinson (BBO No. 423080)
                                      Eóin P. Beirne (BBO No. 660885)
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                                      Counsel for Elisabeth Kimmel


Date: May 27, 2021




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              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

         I, Eóin P. Beirne, hereby certify that counsel for Defendants did not confer with counsel
for the government regarding this motion as the underlying Submission would be made ex parte
and under seal.

                                                /s/ Eóin P. Beirne
                                                Eóin P. Beirne


                               CERTIFICATE OF SERVICE

        I, Eóin P. Beirne, hereby certify that on May 27, 2021, I filed the foregoing with the
United States District Court for the District of Massachusetts using the CM/ECF system and
caused it to be served on all registered participants via the notice of electronic filing.

                                                /s/ Eóin P. Beirne
                                                Eóin P. Beirne




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